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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


UNITED STATES OF AMERICA,                             CR 22–60–M–DLC

              Plaintiff,

       vs.                                                  ORDER

 DANIEL AUGUST MEYER,

              Defendant.


      Before the Court is the United States’ Unopposed Motion for Preliminary

Order of Forfeiture. (Doc. 42.) Defendant Daniel August Meyer has been

adjudged guilty of stalking, in violation of 18 U.S.C. § 2261A(2)(B), as charged in

Count I of the Indictment. (Doc. 44.) Per this adjudication of guilt and Meyer’s

plea agreement with the government, (Doc. 34), there is a factual basis and cause

to issue an order of forfeiture, pursuant to 18 U.S.C. § 924(d).

      Accordingly, IT IS ORDERED the motion (Doc. 42) is GRANTED.

      IT IS FURTHER ORDERED that Meyer’s interest in the following property

is forfeited to the United States in accordance with 18 U.S.C. § 924(d):

         • Harrington and Richardson, Model Tamer, 20 Gauge Shotgun, Serial

             HX226375; and

         • One 20-gauge shotgun round.


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      IT IS FURTHER ORDERED that the FBI and/or a designated sub-custodian

is directed to seize the property subject to forfeiture and further to make a return as

provided by law.

      IT IS FURTHER ORDERED that the United States will provide written

notice to all third parties asserting a legal interest in any of the above-described

property and will post on an official government internet site (www.forfeiture.gov)

for at least 30 consecutive days as required by Rule G(4)(a)(iv)(C) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions, notice of the Court’s Preliminary Order and the United States’ intent to

dispose of the property in such manner as the Attorney General of the United

States may direct, pursuant to 18 U.S.C. § 982(b)(1) and 21 U.S.C. § 853(n)(1),

and to make its return to this Court that such action has been completed.

      IT IS FURTHER ORDERED that upon adjudication of all third-party

interests, if any, the Court will enter a final order of forfeiture, pursuant to 21

U.S.C. § 853(n)(7) and Fed. R. Crim. P. 32.2(c)(2), in which all interests will be

addressed.

      DATED this 8th day of June, 2023.




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